                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

UNITED STATES OF AMERICA                          )
                                                  )      No. 3:06-CR-64-2
V.                                                )      (JORDAN/SHIRLEY)
                                                  )
LUELLA COBB                                       )


                        ORDER OF TEMPORARY DETENTION

              This matter came before the undersigned for an initial appearance on a

Petition for Warrant for Offender Under Supervision on February 12, 2009. Tracee Plowell,

Assistant United States Attorney, was present representing the government. Jonathan

Moffatt , Assistant Federal Defender, was present representing the defendant. The defendant

was also present. The defendant, through counsel, waived a preliminary hearing and a

detention hearing and signed the appropriate waivers.

              The defendant is scheduled for a revocation hearing on February 19, 2009, at

1:00 p.m., before the Honorable Leon Jordan, United States District Judge. The defendant

stated that he understands that he will remain in custody pending the hearing. For good cause

shown, the defendant’s request not to contest, and to waive the detention hearing is hereby

GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving



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                  sentences or being held in custody pending appeal;

            (3)   Defendant be afforded reasonable opportunity for private
                  consultation with counsel; and

            (4)   On order of a court of the United States or on request of an
                  attorney for the government, the person in charge of the
                  corrections facility in which the defendant is confined
                  deliver the defendant to a United States marshal for the
                  purpose of an appearance in connection with any court
                  proceeding.


                  IT IS SO ORDERED.


                                       ENTER:
                                             s/ C. Clifford Shirley, Jr.
                                       United States Magistrate Judge




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